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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                    CR 25-64-GF-JTJ-5

                 Plaintiff,                     JUDGMENT

       vs.

 CONTE NICOLAE,

                 Defendant.




      Defendant Conte Nicolae (Nicolae) appeared before the Court for an

arraignment, change of plea hearing and sentencing hearing on May 28, 2025.

Nicolae entered a plea of guilty to the crime of Illegal Entry into the United States

by an Alien in violation of 8 U.S.C. § 1325(a). Nicolae’s plea of guilty was made

knowingly, intelligently, and voluntarily. Nicolae understood his constitutional

rights and the extent to which such rights were waived by a plea of guilty.

      Having considered the evidence, sentencing recommendations of the parties,

and the sentencing factors in 18 U.S.C § 3553, the Court enters the following

sentence:

      1.     Nicolae shall serve a custodial sentence of time served, with
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no supervised release to follow.

      2.     No fine or special assessment is imposed.

                       NOTICE OF RIGHT TO APPEAL

      Nicolae was advised that, pursuant to 18 U.S.C. § 3742(h) and Federal Rule

of Criminal Procedure 58(g)(2)(B), he has the right to appeal the sentence imposed

in this case to a United States District Court Judge within 14 days after entry of

this Judgment. Nicole waived his right of appeal.

      The Clerk shall notify the parties of the entry of this Judgment.

      DATED this 28th day of May 2025.




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